                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:11-00194
                                           )       JUDGE CAMPBELL
STERLING RIVERS, et al.                    )


                                          ORDER


       Pending before the Court is a Motion to Quash Subpoena (Docket No. 1549) filed by

counsel for John Edwards and the Government’s Motions in Limine regarding John Edwards

(Docket Nos. 728 and 1000). The Court held a hearing on August 22, 2013. For the reasons

stated from the bench, the Motions are GRANTED.

       IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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